Case 20-63543-pwb         Doc 12     Filed 05/28/20 Entered 05/28/20 09:55:42             Desc Main
                                     Document     Page 1 of 7



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                  :             CHAPTER 7
                                                        :
AGORA HEALTH SOLUTIONS, INC.,                           :             CASE NO. 20-63543-PWB
                                                        :
         Debtor.                                        :
                                                        :

             TRUSTEE’S APPLICATION FOR APPOINTMENT OF ATTORNEYS

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Applicant”) in the

bankruptcy case of Agora Health Solutions, Inc. (“Debtor”), and respectfully represents as

follows:

                                                   1.

         Debtor initiated this case by filing a voluntary petition for relief under Chapter 7 of Title

11 of the United States Code (the “Bankruptcy Code”) on February 28, 2020.

                                                   2.

         Applicant was thereafter appointed and remains the duly acting Chapter 7 trustee in this

case.

                                                  4.

         To administer this case in a proper, efficient, and economical manner, Applicant requires

the services of legal counsel, and he wishes to employ the firm Arnall Golden Gregory LLP to

act as his attorneys in this case.

                                                   5.

         The members and associates of said firm are admitted to practice in this Court, have

knowledge and experience in bankruptcy practice and are well qualified to represent Trustee in




15029035v1
Case 20-63543-pwb           Doc 12      Filed 05/28/20 Entered 05/28/20 09:55:42                    Desc Main
                                        Document     Page 2 of 7



this matter. Attached as Exhibit “A” is the Rule 2014 Verification of Arnall Golden Gregory

LLP.

                                                        6.

        The current hourly billing rates (as reduced)1 of attorneys and paralegals who may render

services in the case follow:

                          1.       Neil C. Gordon                     $575.00
                          2.       Frank N. White                     $565.00
                          3.       Michael F. Holbein                 $545.00
                          4.       Michael J. Bargar                  $482.50
                          5.       William D. Matthews                $445.00
                          6.       Meghan J. Wells                    $315.00
                          7.       Angela G. Ford                     $195.00
                          8.       Nancy J. Overholtzer               $195.00
                          9.       Pamela E. Bicknell                 $195.00
                          10.      Carol A. Stewart                   $170.00


Depending on need for particular experience or the exigencies of the case, other attorneys may

also provide services. The above rates may be increased during the term of the proposed

employment or if so awarded by the Court.

                                                        7.

        Professional services, for which counsel for Trustee are necessary in this case, relate to

the recovery of assets by Trustee, including the preparation, filing, and prosecution of any

motions to settle, motions for turnover, adversary proceedings, as well as all claims objections,

applications, and other necessary services. Specifically, it is necessary to retain attorneys to assist

Applicant with legal issues regarding the investigation, recovery, monetization, and distribution

of certain pre-petition transfers of Debtor’s interests in property, including drafting of all

requisite motions, pleadings, and papers.            Applicant may also require the services of said

1
         In the exercise of its billing judgment, AGG has voluntarily reduced the 2020 billing rate of Michael J.
Bargar from $535.00 per hour to $482.50 per hour. Based on the complexity of the issues that arise in this matter,
AGG may charge his actual billing rate for the services performed.


15029035v1
Case 20-63543-pwb         Doc 12    Filed 05/28/20 Entered 05/28/20 09:55:42                Desc Main
                                    Document     Page 3 of 7



professionals to assist with other legal matters, which may arise during the administration of this

case.

                                                   8.

        The professional services, for which it is necessary that an attorney act, may also include:

        (a)    Preparation of pleadings and motions and conducting of examinations incidental

               to the administration of the estate;

        (b)    Services incidental to preservation and disposition of assets;

        (c)    Investigation, analysis, and appropriate action, if required, relative to any

               preference, fraudulent transfer, unperfected security interest, improper disposal of

               assets, prosecution of the estate’s claims, or pending litigation;

        (d)    Any and all other necessary action incident to the proper preservation and

               administration of the estate.

                                                   9.

        To the best of Applicant’s knowledge, said firm’s acting as attorneys in this case will be

in the best interest of the estate, Debtor, creditors, and all other parties in interest. To the best of

Applicant’s knowledge, and except as otherwise disclosed herein and in the Bankruptcy Rule

2014 Verification of Michael J. Bargar, the firm has no connection with the aforementioned

Debtor, its creditors, any party in interest in this case, their attorneys and accountants, the United

States Trustee, or any person employed in the Office of the United States Trustee. Said firm does

not hold or represent an interest adverse to the estate, does not represent any creditor or other

known interested party, and is a disinterested person under 11 U.S.C. § 327(a), as that term is

defined in 11 U.S.C. § 101(14). Disclosure is made, however, that Neil C. Gordon, a partner of

the firm, and Michael J. Bargar, a partner of the firm, have been appointed by the United States




15029035v1
Case 20-63543-pwb   Doc 12   Filed 05/28/20 Entered 05/28/20 09:55:42   Desc Main
                             Document     Page 4 of 7
Case 20-63543-pwb        Doc 12    Filed 05/28/20 Entered 05/28/20 09:55:42             Desc Main
                                   Document     Page 5 of 7



Trustee for Region 21 to act as panel trustees in the United States Bankruptcy Court, Northern

District of Georgia, Atlanta Division.

                                                 10.

        To expedite the marshalling of the estate’s assets, Arnall Golden Gregory LLP has

heretofore performed certain professional services for the estate or plans to perform such

services, which may be rendered prior to the signing of any order upon this Application.

                                                 11.

        Applicant proposes that said firm be compensated for its services in accordance with

future orders of the Court based upon the criteria for professional compensation required by

bankruptcy law. No compensation will be paid by Applicant to said law firm except upon

application to and approval by the Court after notice and hearing as required by law.

        WHEREFORE, Applicant prays that Arnall Golden Gregory LLP be authorized to act as

Applicant’s attorney in this case and that such authorization continue if said firm should assist

any successor Trustee.

        Respectfully submitted this 28th day of May, 2020.



                                                       S. Gregory Hays
                                                       Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305
(404) 926-0060
                                                       Proposed Attorneys for Trustee:
                                                       ARNALL GOLDEN GREGORY LLP

                                                       By:     /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
(404) 873-8500                                               michael.bargar@agg.com




15029035v1
Case 20-63543-pwb        Doc 12    Filed 05/28/20 Entered 05/28/20 09:55:42              Desc Main
                                   Document     Page 6 of 7




                                          EXHIBIT "A"
                     RULE 2014 VERIFICATION WITH REGARD TO
                           EMPLOYMENT OF ATTORNEYS


        The undersigned hereby declares under penalty of perjury:

       1.      I am a partner with the law firm of Arnall Golden Gregory LLP, with offices at
171 17th Street, NW, Suite 2100, Atlanta, Georgia 30363 (the “Firm”).

        2.      S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) in the bankruptcy case of
Agora Health Solutions, Inc. (“Debtor”), has asked the Firm to represent him as Trustee in this
case. To the best of my knowledge, the Firm has no connection with the aforementioned Debtor,
its creditors, any party in interest in this case, their attorneys and accountants, the United States
Trustee, or any person employed in the Office of the United States Trustee, except as set forth
below. The Firm represents no interest which would be adverse to the estate of Debtor in
connection with the matters upon which the Firm is to be engaged. The Firm is a disinterested
person as that term is defined in 11 U.S.C. § 101(14). Disclosure is made that the Firm
represents S. Gregory Hays (in his capacity as a bankruptcy trustee) as special or general counsel
in unrelated matters. Disclosure is also made that Neil C. Gordon, a partner of the Firm, and I,
Michael J. Bargar, have been appointed by the United States Trustee for Region 21 to act as
panel trustees in the United States Bankruptcy Court, Northern District of Georgia, Atlanta
Division.


       3.      The Firm will not expect nor receive any compensation from the estate except
upon application to and approval by the Bankruptcy Court after notice and hearing.


        Dated this 28th day of May, 2020.

                                                      By: /s/ Michael J. Bargar
                                                          Michael J. Bargar
                                                          Georgia Bar No. 645709




15029035v1
Case 20-63543-pwb        Doc 12     Filed 05/28/20 Entered 05/28/20 09:55:42          Desc Main
                                    Document     Page 7 of 7



                                 CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing Trustee’s Application for

Appointment of Attorneys by depositing in the United States mail a copy of same in a properly

addressed envelope with adequate postage affixed thereon to assure delivery by first class mail to

the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Todd E. Hennings
Macey, Wilensky & Hennings, LLP
Suite 435
5500 Interstate Parkway North
Atlanta, GA 30328

        This 28th day of May, 2020.

                                                    /s/ Michael J. Bargar
                                                    Michael J. Bargar
                                                    Georgia Bar No. 645709




15029035v1
